Case 1:17-cr-00532-RBK Document 17-1 Filed 12/07/17 Page 1 of 1 PageID: 42




 MSL/SMW /2016R00738

                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA                             Criminal No. 17-   !__~-   ·'.°'·   :2 -   /2 nf\
         V.                                            18 U.S.C. § 249(a)(l)

  FRANK NUCERA, JR.



  CERTIFICATE OF THE ASSISTANT ATTORNEY GENERAL FOR CIVIL RIGHTS

        I, John M. Gore, hereby certify prosecution by the United States of

  FRANK NUCERA, JR., for violating Title 18, United States Code, Section

  249(a)(l), by willfully causing bodily injury to Victim 1 on or about September

  1, 2016, because it is in the public interest and necessary to secure substantial

 justice. This certification is made pursuant to Title 18, United States Code,

  Section 249(b)(l)(D).


        Signed
         .
               the     f.f!:.._ day of tc/D6A, 2017.
                                 .




                                         Acting Assistant Attorney General
                                         Civil Rights Division
                                         Department of Justice
